18-14010     Doc 2     Filed 12/12/18     Entered 12/12/18 05:04:51   Main Document   Pg
                                              1 of 11


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                   Chapter 11

SYNERGY PHARMACEUTICALS INC.                            Case No. 18-14010 (___)

420 Lexington Avenue, Suite 2012, New York,             Tax I.D. No. XX-XXXXXXX
New York 10170
             Debtor.


In re
                                                        Chapter 11
SYNERGY ADVANCED
PHARMACEUTICALS, INC.                                   Case No. 18-14011 (___)

420 Lexington Avenue, Suite 2012, New York,             Tax I.D. No. XX-XXXXXXX
New York 10170
             Debtor.
18-14010      Doc 2      Filed 12/12/18         Entered 12/12/18 05:04:51             Main Document            Pg
                                                    2 of 11



                        DEBTORS’ MOTION FOR ENTRY OF ORDER (I)
                   DIRECTING JOINT ADMINISTRATION OF CASES AND
                  (II) WAIVING REQUIREMENTS OF BANKRUPTCY CODE
                           SECTION 342(c)(1) AND BANKRUPTCY
                                 RULES 1005 AND 2002(n)

                 Synergy Pharmaceuticals Inc. (“Synergy Pharmaceuticals”) and Synergy

Advanced Pharmaceuticals, Inc. (“Synergy Advanced” and, together with Synergy

Pharmaceuticals, the “Debtors,” the “Company,” or “Synergy”), the debtors and debtors-in-

possession in the above-captioned cases, hereby move (this “Motion”) this Court for entry of an

order substantially in the form attached hereto as Exhibit A (the “Order”) granting the relief

described below. In support thereof, the Debtors refer to the contemporaneously filed

Declaration of Gary G. Gemignani in Support of Chapter 11 Petitions and First-Day Papers (the

“First-Day Declaration”),1 and further represent as follows:

                                          RELIEF REQUESTED

        1.       The Debtors respectfully request entry of an Order (a) directing the joint

administration of the Chapter 11 Cases (as defined below) for procedural purposes only and (b)

waiving the requirement that the caption in the Chapter 11 Cases and certain notices list the

Debtors’ tax identification numbers.

        2.       In furtherance of the foregoing, the Debtors request that the official caption to be

used by all parties in all papers in the joint administered cases be as follows:




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the First-Day
    Declaration.



                                                        2
18-14010      Doc 2       Filed 12/12/18        Entered 12/12/18 05:04:51              Main Document            Pg
                                                    3 of 11




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                Chapter 11

SYNERGY PHARMACEUTICALS INC., et al.,                                Case No. 18-14010 (___)

                 Debtors.1                                           Jointly Administered


        3.       In addition, the Debtors request that the Court make a separate docket entry on the

docket of the Chapter 11 Case of Synergy Advanced Pharmaceuticals, Inc. substantially as

follows:

        An order has been entered in this case consolidating this case with the case of
        Synergy Pharmaceuticals Inc., Case No. 18-14010 (____), for procedural
        purposes only and providing for its joint administration in accordance with the
        terms thereof. The docket in Case No. 18-14010 (___) should be consulted for all
        matters affecting this case.

                                     JURISDICTION AND VENUE

        4.       This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and this

Motion in this district is proper under 28 U.S.C. §§ 1409 and 1409.

        5.       The legal predicates for the relief requested herein are section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”) and Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).



1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
    numbers, are as follows: Synergy Pharmaceuticals Inc. (5269); Synergy Advanced Pharmaceuticals, Inc.
    (4596). The address of the Debtors’ corporate headquarters is 420 Lexington Avenue, Suite 2012, New York,
    New York 10170.



                                                         3
18-14010       Doc 2   Filed 12/12/18      Entered 12/12/18 05:04:51         Main Document         Pg
                                               4 of 11


                                         BACKGROUND

       6.       On the date hereof (the “Petition Date”) each Debtor commenced a case by filing

a petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors have requested that the Chapter 11 Cases be jointly administered.

       7.       The Debtors continue to operate their businesses and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       8.       To date, the Office of the United States Trustee for the Southern District of New

York (the “U.S. Trustee”) has not appointed a creditors’ committee in the Chapter 11 Cases, nor

has any trustee or examiner been appointed therein.

       9.       Synergy is a biopharmaceutical company focused on the development and

commercialization of novel gastrointestinal therapies. The Company has pioneered discovery,

research, and development efforts around analogs of uroguanylin, a naturally occurring human

gastrointestinal peptide, for the treatment of gastrointestinal disease and disorders. Synergy’s

proprietary gastrointestinal platform includes one commercial product, TRULANCE, and a

second product candidate, dolcanatide. The Company’s business operations, corporate and

capital structures, and restructuring efforts are described in greater detail in the First-Day

Declaration.

            BASIS FOR RELIEF REQUESTED AND APPLICABLE AUTHORITY

       10.      If two or more petitions are pending in the same court by or against a debtor and

an affiliate, the court may order the joint administration of the estates of the debtor and such

affiliates. Fed. R. Bankr. P. 1015(b). Synergy Advanced is a wholly owned subsidiary of

Synergy Pharmaceuticals. As such, Synergy Advanced is an “affiliate” of Synergy

Pharmaceuticals, as that term is defined in Bankruptcy Code section 101(2) and as used in



                                                  4
18-14010     Doc 2     Filed 12/12/18     Entered 12/12/18 05:04:51         Main Document           Pg
                                              5 of 11


Bankruptcy Rule 1015(b). Thus, joint administration of the Debtors’ Chapter 11 Cases is

appropriate under Bankruptcy Rule 1015(b).

       11.     The joint administration of the Chapter 11 Cases will promote efficiency by

permitting the Clerk of the Court to use a single, general docket for the cases and to combine

notice to creditors and other parties-in-interest of the Debtors’ respective estates. The Debtors

anticipate that almost all of the papers, hearings, and orders in the Chapter 11 Cases will relate to

both of the Debtors. Moreover, the use of the simplified caption set forth above will eliminate

cumbersome and confusing procedures and ensure a uniformity of pleading identification.

       12.     The rights of the respective creditors and stakeholders of each of the Debtors will

not be adversely affected by joint administration of these cases because the relief sought is

purely procedural and will not affect parties’ substantive rights.

       13.     This and other courts have granted similar relief in other cases. See, e.g., In re

Chassix Holdings, Inc., No. 15-10578 (MEW) (Bankr. S.D.N.Y. Mar. 12, 2015); In re NII

Holdings, Inc., No. 14-12611 (SCC) (Bankr. S.D.N.Y. Sept. 16, 2014); In re Genco Shipping &

Trading Ltd., No. 14-11108 (SHL) (Bankr. S.D.N.Y. Apr. 23, 2014).

                                             NOTICE

       14.     Notice of this Motion will be given to: (a) the U.S. Trustee, (b) counsel to the

administrative agent under the Debtors’ Prepetition Term Loan Facility and proposed DIP

Facility, (c) counsel to the Stalking-Horse Bidder, (d) the Internal Revenue Service, (e) the

Securities and Exchange Commission, (f) the parties included on the Debtors’ consolidated list

of their 20 largest unsecured creditors, (g) the United States Attorney of the Southern District of

New York, and (h) all parties entitled to notice pursuant to Local Bankruptcy Rule 9013-1(b).

The Debtors submit that no other or further notice is required.



                                                  5
18-14010     Doc 2    Filed 12/12/18    Entered 12/12/18 05:04:51        Main Document           Pg
                                            6 of 11


                                    NO PRIOR REQUEST

       15.     No previous request for the relief sought herein has been made to this Court or

any other court.


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                                                6
18-14010       Doc 2        Filed 12/12/18    Entered 12/12/18 05:04:51      Main Document             Pg
                                                  7 of 11


                                             CONCLUSION

                  The Debtors respectfully request that this Court enter the Order, substantially in

the form annexed hereto, granting the relief requested herein and such other and further relief as

may be just and proper.

Dated: New York, New York               
       December 12, 2018                
                                        
                                            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                        
                                            /s/ Lisa Laukitis
                                            Lisa Laukitis
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                                             – and –

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                                        
                                            Proposed Counsel to Debtors
                                             and Debtors-in-Possession




                                                       7
1032778.04-CHISR01A - MSW
18-14010   Doc 2   Filed 12/12/18   Entered 12/12/18 05:04:51   Main Document   Pg
                                        8 of 11


                                     EXHIBIT A

                                    Proposed Order
18-14010      Doc 2       Filed 12/12/18        Entered 12/12/18 05:04:51             Main Document               Pg
                                                    9 of 11


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                Chapter 11

SYNERGY PHARMACEUTICALS INC.                                         Case No. 18-14010 (___)

420 Lexington Avenue, Suite 2012, New York,                          Tax I.D. No. XX-XXXXXXX
New York 10170
             Debtor.


In re
                                                                     Chapter 11
SYNERGY ADVANCED
PHARMACEUTICALS, INC.                                                Case No. 18-14011 (___)

420 Lexington Avenue, Suite 2012, New York,                          Tax I.D. No. XX-XXXXXXX
New York 10170
             Debtor.


                     ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                       CASES AND (II) WAIVING REQUIREMENTS OF
                        BANKRUPTCY CODE SECTION 342(c)(1) AND
                          BANKRUPTCY RULES 1005 AND 2002(n)

                 Upon the motion (the “Motion”)1 of the Debtors for an order (this “Order”) (i)

directing joint administration of these cases and administratively consolidating the respective

Chapter 11 Cases of each Debtor for procedural purposes only and (ii) waiving the requirement

that the captions in the Chapter 11 Cases list the Debtors’ tax identification numbers and certain

other information; and upon consideration of the First-Day Declaration; and due and sufficient

notice of the Motion having been given under the particular circumstances; and it appearing that

no other or further notice is necessary; and it appearing that the relief requested in the Motion is



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
18-14010      Doc 2       Filed 12/12/18        Entered 12/12/18 05:04:51              Main Document            Pg
                                                   10 of 11


in the best interests of the Debtors, their estates, their creditors, and other parties-in-interest; and

after due deliberation thereon; and good and sufficient cause appearing therefor; it is hereby;

                 ORDERED, ADJUDGED, AND DECREED that:

        1.       The Motion is GRANTED as set forth herein.

        2.       Each of the above-captioned Chapter 11 Cases of the Debtors be, and hereby is,

jointly administered by the Court for procedural purposes only. Nothing contained in this Order

shall be deemed or construed as directing or otherwise effecting any substantive consolidation of

any of the Chapter 11 Cases.

        3.       The caption of the jointly administered cases shall read as follows:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                Chapter 11

SYNERGY PHARMACEUTICALS INC., et al.,                                Case No. 18-14010 (___)

                 Debtors.1                                           Jointly Administered


        4.       Each motion, application, and notice shall be captioned as indicated in the

preceding decretal paragraph and all original docket entries shall be made in the case of Synergy

Pharmaceuticals Inc., Case No. 18-14010 (___).

        5.       A docket entry shall be made in the Chapter 11 Case of Synergy Advanced

Pharmaceuticals, Inc. substantially as follows:


1
    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification
    numbers, are as follows: Synergy Pharmaceuticals Inc. (5269); Synergy Advanced Pharmaceuticals, Inc.
    (4596). The address of the Debtors’ corporate headquarters is 420 Lexington Avenue, Suite 2012, New York,
    New York 10170.


                                                         2
18-14010       Doc 2        Filed 12/12/18   Entered 12/12/18 05:04:51        Main Document          Pg
                                                11 of 11


         An order has been entered in this case consolidating this case with the case of
         Synergy Pharmaceuticals Inc., Case No. 18-14010 (___), for procedural purposes
         only and providing for its joint administration in accordance with the terms
         thereof. The docket in Case No. 18-14010 (___) should be consulted for all
         matters affecting this case.

         6.       The requirements under Bankruptcy Code section 342(c)(1) and Bankruptcy Rule

2002(n) that the case caption and other notices mailed in the Chapter 11 Cases include the

Debtors’ tax identification numbers and other identifying information about the Debtors are

hereby waived. The Debtors shall include in all papers filed and each notice mailed by the

Debtors a footnote listing all of the Debtors, the last four digits of their respective tax

identification numbers, and the address of their corporate headquarters.

         7.       The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

         8.       This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated: New York, New York               
       December __, 2018                
                                        
                                            UNITED STATES BANKRUPTCY JUDGE




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1032780.04-CHISR01A - MSW
